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                             Exhibit 17
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                                                              Am. Compl. [Docket No. 51] ¶ 8. A significant portion of his
                                                              skin blistered and eventually sloughed off, requiring Hodges
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                                                              to be treated for a month at Regions Hospital Burn Center. Id.
   Only the Westlaw citation is currently available.
                                                              ¶¶ 19–20. The SJS / TEN reaction and the multiple operations
    United States District Court, D. Minnesota.
                                                              left essentially no intact skin on his face, neck, scalp, trunk,
           Lamar HODGES, Jr., Plaintiff,                      back, buttocks, arms, and legs. Id. ¶ 22. As a result, Hodges is
                       v.                                     permanently disfigured, blind in one eye, and will likely lose
       PFIZER, INC., Wyeth, LLC, and Wyeth                    all sight in the future. Id. ¶¶ 22–24.
       Consumer Healthcare, Inc., Defendants.
                                                              Hodges commenced this action in November 2014 against the
               Civil No. 14-4855 ADM/TNL                      Defendants who manufacture and market Advil. Defendants
                             |                                responded by bringing a partial motion to dismiss, which
                  Signed March 28, 2016                       the Court granted in part and denied in part. See Mem. Op.
                                                              Order [Docket No. 36]. Hodges thereafter filed the Amended
Attorneys and Law Firms                                       Complaint, asserting claims for failure to warn, defective
                                                              design, fraud and fraudulent inducement, breach of express
Connor G. Sheehan, Esq., William D. Dunn, Esq., and Patrick   warranty, negligence, unjust enrichment, and violations of
K. Sheehan, Esq., Dunn Sheehan, LLP, Dallas, TX, and Elliot   Minn. Stat. §§ 325D.13, 325F.67, and 325F.69. Am. Compl.
L. Olsen, Esq., PritzkerOlsen, PA, Minneapolis, MN, on
                                                              ¶¶ 98–176.
behalf of Plaintiff.
                                                              After reaching an impasse regarding the proper scope of
Richard M. Barnes, Esq., Eben S. Flaster, Esq., and Andrew
                                                              discovery, Hodges and Defendants each brought a motion
W. Croner, Esq., Goodell, DeVries, Leech & Dann, LLP,
                                                              to compel. Hodges' motion sought discovery of an array
Baltimore, MD, and Cooper S. Ashley, Esq., Catherine Ahlin-
                                                              of information related to Advil, SJS / TEN, or Defendants,
Halverson, Esq., and Jevon C. Bindman, Esq., Maslon LLP,
                                                              including: safety and testing data; communications with the
Minneapolis, MN, on behalf of Defendants.
                                                              FDA and foreign regulatory agencies; historical labeling
                                                              changes; marketing materials; and financial information. See
                                                              generally Pl.'s Mem. Supp. Mot. Compel [Docket No. 74].
      MEMORANDUM OPINION AND ORDER
                                                              Defendants' motion sought detailed information regarding
ANN D. MONTGOMERY, U.S. DISTRICT JUDGE                        Hodges' use of and adverse reaction to Advil, as well as
                                                              production of documents underlying the allegations in the
                                                              Amended Complaint. See generally Defs.' Mem. Supp. Mot.
                  I. INTRODUCTION                             Compel [Docket No. 91]. Judge Leung, after a review of the
                                                              dozens of discovery requests, partially granted each motion.
 *1 This matter is before the undersigned United States
                                                              See Discovery Order at 38.
District Judge on Defendants Pfizer, Inc., Wyeth, LLC,
and Wyeth Consumer Healthcare, Inc.'s (collectively,
                                                              On February 5, 2016, Defendants filed these Objections,
“Defendants ”) Objections [Docket No. 173] to Magistrate
                                                              arguing that Judge Leung erred in ordering Defendants to
Judge Tony N. Leung's December 17, 2015 Order [Docket
                                                              produce certain regulatory, financial, and sales and marketing
No. 147] (“Discovery Order”) granting in part and denying
                                                              documents.
in part Plaintiff Lamar Hodges, Jr.'s (“Hodges”) Motion to
Compel Discovery [Docket No. 72]. For the reasons set forth
below, Defendants' Objections are overruled.
                                                                                   III. DISCUSSION

                                                              A. Standard of Review
                   II. BACKGROUND                             The standard of review applicable to an appeal of a magistrate
                                                              judge's order on a nondispositive issue is extremely
Hodges ingested Advil when he was 16 years old and suffered
                                                              deferential. Reko v. Creative Promotions, Inc., 70 F. Supp. 2d
a severe adverse drug reaction known as Stevens-Johnson
                                                              1005, 1007 (D. Minn. 1999). The district court must affirm an
Syndrome (“SJS ”) / Toxic Epidermal Necrolysis (“TEN ”).


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order by a magistrate judge unless it is “clearly erroneous or     F.2d 377, 380 (8th Cir. 1992) (“Rule 26(b) ... is liberal in scope
contrary to law.” Fed. R. Civ. P. 72(a). “A finding is ‘clearly    and interpretation”). To ensure Rule 26(b) is not “misapplied
erroneous’ when although there is evidence to support it, the      so as to allow fishing expeditions in discovery,” a party must
reviewing court on the entire evidence is left with the definite   make a “threshold showing of relevance ... before parties
and firm conviction that a mistake has been committed.”            are required to open wide the doors of discovery and to
Chakales v. Comm'r of Internal Revenue, 79 F.3d 726, 728           produce a variety of information which does not reasonably
(8th Cir. 1996). “A decision is ‘contrary to the law’ when         bear upon the issues in the case.” Hofer, 981 F.2d at 380.
it ‘fails to apply or misapplies relevant statutes, case law or    The threshold requirement of discoverability is met if the
rules of procedure.’ ” Knutson v. Blue Cross & Blue Shield         information sought is “relevant to the subject matter involved
of Minn., 254 F.R.D. 553, 556 (D. Minn. 2008) (quoting             in the pending action.” Archer Daniels Midland Co. v. Aon
Transamerica Life Ins. Co. v. Lincoln Nat'l Life Ins. Co., 592     Risk Serv., Inc. of Minn., 187 F.R.D. 578, 589 (D. Minn.
F. Supp. 2d 1087, 1093 (N.D. Iowa 2008)).                          1999) (quoting Shelton v. Am. Motors, 805 F.2d 1323, 1326
                                                                   (8th Cir. 1986)). “[T]he standard of relevance in the context
                                                                   of discovery is broader than in the context of admissibility.”
B. Defendants' Objections                                          Hofer, 981 F.2d at 380.
 *2 Defendants object to the ordered production of three
categories of documents: foreign regulatory documents,             The 2015 Amendment to Rule 26(b)(1) relocated and slightly
financial documents, and sales and marketing documents.            revised the proportionality language formerly located in
Defendants argue that the Discovery Order is contrary to law       subdivision (b)(2)(C)(iii). Fed. R. Civ. P. 26 at advisory
with respect to these categories of documents because of their     committee's note to 2015 amendment. In doing so, the
“limited, if any, relevance ” to this dispute and Judge Leung's    amendment “restores the proportionality factors to their
“failure to weigh the burdens and to analyze proportionality.”     original place in defining the scope of discovery ” but “does
Objs. at 2.                                                        not change the existing responsibilities of the court and the
                                                                   parties to consider proportionality.” Id.
As of December 1, 2015, Rule 26 of the Federal Rules of Civil
Procedure provides in pertinent part:
                                                                      1. Foreign Regulatory Documents
  (b) Discovery Scope and Limits.                                  Judge Leung ordered Defendants to produce “foreign
                                                                   documents concerning single-ingredient, adult ibuprofen
     (1) Scope in General. Unless otherwise limited by court
                                                                   products between 2001 and 2010 (a) from France, the United
        order, the scope of discovery is as follows: Parties
                                                                   Kingdom, the Netherlands, Germany, Japan, Australia, or
        may obtain discovery regarding any nonprivileged
                                                                   Taiwan (b) pertaining to (i) labeling and package inserts,
        matter that is relevant to any party's claim or defense
                                                                   (ii) adverse events and pharmacovigilance, (iii) regulatory
        and proportional to the needs of the case, considering
                                                                   actions and correspondence with regulatory authorities, or
        the importance of the issues at stake in the action,
        the amount in controversy, the parties' relative access    (iv) restrictions or withdrawals from the market.” 1 Discovery
        to relevant information, the parties' resources, the       Order at 13.
        importance of the discovery in resolving the issues,
        and whether the burden or expense of the proposed           *3 Defendants argue that such documents have no more
        discovery outweighs its likely benefit. Information        than de minimis relevance to this dispute. However, as Judge
        within this scope of discovery need not be admissible      Leung noted, such documents are relevant to Defendants'
        in evidence to be discoverable.                            knowledge of the risks of SJS / TEN, which in turn is relevant
                                                                   to Hodges' claims. See, e.g., In re Levaquin Prods. Liab.
Fed. R. Civ. P. Rule 26(b)(1). Federal Rule of Civil Procedure     Litig., 700 F.3d 1161, 1166 (8th Cir. 2012) (“A plaintiff
26 is to be construed broadly and encompasses “any matter          asserting a negligent failure-to-warn claim under Minnesota
that bears on, or that reasonably could lead to other matter       law must show: (1) the defendant had reason to know of the
that could bear on, any issue that is or may be in the case.”      dangers of using the product ....”) (quotation omitted). The
In re Milk Prod. Antitrust Litig., 84 F. Supp. 2d 1016, 1027       cases Defendants cite on this point are inapposite because
(D. Minn. 1997) (quoting Oppenheimer Fund, Inc. v. Sanders,        they are directed to the admissibility of foreign regulatory
437 U.S. 340, 351 (1978)); Hofer v. Mack Trucks, Inc., 981         documents at trial, and evidence need not be admissible to be



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discoverable. Fed. R. Civ. P. 26(b)(1). Significantly, in at least   and net) for sales of Advil in the United States between 2001
one of the cases cited by Defendants, the court previously           and 2010; and sales forecasts, advertising budgets, business
ordered production of foreign regulatory documents. In re            plans, marketing plans, and financial plans for Advil in the
Seroquel Prods. Liab. Litig., No. 6–1769, 2008 WL 508391,            United States between 2001 and 2010. Discovery Order at 24.
at *2–3 (M.D. Fla. Feb. 21, 2008).
                                                                     Defendants argue that Judge Leung erred by noting the
Next, Defendants argue that production of foreign regulatory         relevance of financial information to a punitive damages
documents would duplicate information already reflected in           assessment even though Hodges has not made the prima facie
a global pharmacovigilance and adverse event database. But           showing required to seek punitive damages. This argument
that database has, on its face, a more limited scope than            is not well-taken, particularly since it was Defendants who
the set of foreign documents ordered to be produced, of              raised the topic of punitive damages. See Defs.' Mem. Opp.
which “adverse events and pharamacovigilance” is only a              Pl.'s Mot. Compel [Docket 98] at 38–39. Judge Leung's
subset. Discovery of these documents, therefore, will not be         statement was an acknowledgment that a punitive damages
“unreasonably cumulative or duplicative” of the information          assessment is one, but not the only, potentially relevant
available in the database. Fed. R. Civ. P. 26(b)(2)(C)(i); see       use of the financial documents. He further explained how
Progressive Cas. Ins. Co. v. F.D.I.C., 49 F. Supp. 3d 545, 563–      the documents could be relevant to the merits of Hodges'
64 (N.D. Iowa 2014) (overruling objection to discovery order         claims: “information about sales goals, projections, and
requiring a non-party to produce documents that may overlap          trends ‘is certainly relevant particularly when it may impact
documents already produced in the case).                             decision making regarding labeling. There is an inherent
                                                                     tension between the desire for profit and scientific decisions
Finally, Defendants argue that Judge Leung failed to consider        that suggest warnings that may well shrink the customer
the burdens and proportionality of requiring Defendants              base because of cautionary tone struck by the warnings.’
to produce foreign regulatory documents. Judge Leung                 ” Discovery Order at 23 (quoting In re Yasmin and YAZ
discussed the 2015 amendment to Rule 26 at the beginning             (Drospirenone) Mktg., Sales Practices & PMF Prods. Liab.
of the Discovery Order and explicitly relied on the burden           Litig., No. 9-2100, 2011 WL 6740391, at *10 (S.D. Ill.
and proportionality factors to deny a different part of Hodges'      Dec. 22, 2011)). Furthermore, “excessive concern with the
motion to compel. Discovery Order at 4–6, 17. Although               image and marketing of those drugs at the expense of making
Judge Leung did not discuss burden or proportionality in             efforts towards determining whether they were safe could be
the subsection of the Discovery Order addressing foreign             probative as to whether the manufacturer breached a duty of
documents, he did narrow the extent of required production           care towards the plaintiffs.” Id. at 23-24 (quoting In re Diet
to seven countries and three subject areas. Because there is         Drugs (Phentermine/Fenfluramine/Dexfenfluramine) Prods.
no relevance-based reason to so limit discovery—notice of            Liab. Litig., 369 F.3d 293, 314 (3d Cir. 2004)). Defendants'
the risks of SJS / TEN could conceivably originate from any          Objections ignore these other potentially relevant uses of the
country—the Court is not left with the “definite and firm            financial documents.
conviction” that Judge Leung failed to consider the burden
and proportionality factors with respect to these documents.          *4 Because the financial documents are relevant to the
Chakales, 79 F.3d at 728.                                            issues in this dispute whether or not there is a viable
                                                                     claim for punitive damages, Judge Leung's Discovery Order
Because the foreign regulatory documents at issue meet the           compelling production of the same is neither erroneous nor
threshold relevance requirement and their production would           contrary to law.
not be overly burdensome or disproportionate to the needs
of the case, Judge Leung's Discovery Order compelling
production of the same is neither erroneous nor contrary to             3. Sales and Marketing Documents
law.                                                                 Lastly, Defendants object to the ordered production of certain
                                                                     sales and marketing documents. Defendants argue that Judge
                                                                     Leung erred by ordering production of such documents from
   2. Financial Documents                                            before June 2005, when the FDA required manufacturers to
Judge Leung ordered Defendants to produce: financial                 include new warnings about the early symptoms of SJS / TEN
documents regarding the sums Defendants spent on Advil and           on all ibuprofen labels. Defendants believe this sufficiently
serious skin reactions between 2001 and 2010; profits (gross         establishes that they had knowledge of the risks of SJS /


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TEN by June 2005 and renders discovery regarding potential
earlier knowledge irrelevant. However, Hodges' claims
require a more nuanced understanding of what Defendants                                 IV. CONCLUSION
knew about the risks and when they knew it. For example,
one of Hodges' primary contentions is that Defendants should       Based upon the foregoing, and all of the files, records
have adopted a more robust warning than they did. See Am.          and proceedings herein, IT IS HEREBY ORDERED
Compl. ¶¶ 98–106, 135–43. Defendants' pre-2005 sales and           that Defendants' Objections [Docket No. 173] are
marketing documents are relevant for Hodges “to properly           OVERRULED.
contextualize the events and findings leading to the label
change,” including the decision not to adopt a more robust
                                                                   All Citations
warning. Discovery Order at 9. Therefore, Judge Leung's
Discovery Order compelling production of such documents is         Not Reported in Fed. Supp., 2016 WL 1222229
neither erroneous nor contrary to law.


Footnotes
1      Ibuprofen is the generic name for the drug Defendants market under the trade name Advil.


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